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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

____________________________________
In re:                                )             Chapter 11
                                      )
FTX TRADING LTD., et al.,             )             Case No. 22-11068 (JTD)
                                      )             (Jointly Administered)
      Debtors.                        )
_____________________________________ )


  ORDER GRANTING MOTION OF 101 SECOND STREET, INC. FOR ALLOWANCE
         AND PAYMENT OF ADMINISTRATIVE CLAIM PURSUANT
                 TO 11 U.S.C. §§ 503(B)(1)(A) AND 507(A)

        Upon the motion (the “Motion”) of 101 Second Street, Inc. (“Landlord”) for an order

 granting Landlord an allowed administrative expense claim pursuant to Bankruptcy Code

 Sections 365(d)(3), 503(b)(1)(A), and 507(a) ; and it appearing that the relief sought in the Motion

 and the entry of this Order are appropriate and necessary; and upon consideration of the Motion

 and all of the proceedings before the Court; and after due deliberation and sufficient cause

 appearing therefor, it is hereby

        ORDERED, as follows:

        1.      The Motion is GRANTED in its entirety.

        2.      Landlord shall have and is hereby granted an allowed administrative claim against

 the Debtors in the amount of $189,947.28 pursuant to Bankruptcy Code Section 503(b)(1)(A),

 which claim is entitled to priority under Bankruptcy Code section 507(a)(2).

        3.      This Court shall retain jurisdiction over any and all matters arising from the

 interpretation or implementation of this Order.

        4.      This order shall be enforceable and effective immediately upon its entry.
